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SO ORDERED.
SIGNED this 27th day of February, 2023


THIS ORDER HAS BEEN ENTERED ON THE DOCKET.
PLEASE SEE DOCKET FOR ENTRY DATE.




   _____________________________________________________________



                 IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                          EASTERN DISTRICT OF TENNESSEE

   In re
                                                                Case No. 3:21-bk-31744-SHB
   DONALD H. BRANDT                                             Chapter 11

                                  Debtor

    ORDER APPROVING AMENDED DISCLOSURE STATEMENT; FIXING TIME FOR
    ACCEPTANCES OR REJECTIONS OF AMENDED PLAN OF REORGANIZATION;
     FIXING TIME FOR FILING OBJECTIONS TO CONFIRMATION; AND FIXING
   DATE FOR HEARING ON CONFIRMATION, COMBINED WITH NOTICE THEREOF

           On January 19, 2023, Debtor filed a Plan of Reorganization [Doc. 409], and a Disclosure

   Statement [Doc. 408]. After notice and a hearing held February 23, 2023, at which it was

   determined that the Disclosure Statement, as it was to be amended, contains adequate information,

   the Court directs, and NOTICE is hereby given that:

           1. The Amended Disclosure Statement filed by Debtor on February 24, 2023 [Doc. 428],

   is APPROVED.

           2. Within five days after the entry of this Order, Debtor shall transmit by mail the Amended

   Plan of Reorganization filed on February 24, 2023 [Doc. 429]; the Amended Disclosure Statement;

   a copy of this Order; and a ballot conforming to Official Form No. 314 to the United States Trustee,
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 creditors, equity security holders, and other parties in interest as provided in Rule 3017(d).

 Debtor’s counsel shall certify service within two days thereafter.

         3. The ballot transmitted pursuant to this Order will clearly state that it shall be returned

 to counsel for Debtor and will designate the appropriate address to which the ballot is to be

 returned. The ballot will not direct its return to the clerk.

         4. March 30, 2023, is fixed as the last day for filing written acceptances or rejections of

 the Amended Plan of Reorganization.

         5. March 30, 2023, is fixed as the last day for filing and serving pursuant to Rule

 3020(b)(1) written objections to confirmation of the Amended Plan of Reorganization. Written

 objections shall set forth with specificity the grounds upon which such objections are predicated.

         6. April 6, 2023, at 10:00 a.m., in Bankruptcy Courtroom 1-C, First Floor, Howard H.

 Baker, Jr. United States Courthouse, Knoxville, Tennessee, is fixed for the hearing on confirmation

 of the Amended Plan of Reorganization.

         7. Debtor will file a summary of acceptances and rejections by class and by number and

 amount at least three days prior to the confirmation hearing.

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